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EXHIBIT A

 

 
 

STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE

(FILED: ERIE COUNTY CLERK 11/10/2020 01:57, PM) INDEX NO. 814310/2020
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NYSCEF DOC. NO. 1

 

SHETIA DIXON
50B Garden Village Drive, Apt. 1
Cheektowaga, NY 14227

Plaintiff,
Vv.
WAL-MART STORES EAST, LP
702 SW 8" Street
Bentonville, AR 72716
Defendant.

Plaintiff designates Erie County as
the place of trial.

SUMMONS

Index No.

The basis of venue is Plaintiff's
residence.

 

TO THE ABOVE-NAMED DEFENDANT(S):

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiff's attorney(s) within twenty (20) days after the service of this
summons, exclusive of the day of service (or within thirty (30) days after the service is complete
if this summons is not personally delivered to you within the State of New York); and in case of
your failure to appear or answer, judgment will be taken against you by default for the relief

demanded in the complaint.

Dated: Buffalo, New York
November 10, 2020

GROSS SHUMAN P.C.

By: |s\Hany §. Pormest _
Harry J. Forrest

Attorneys for Plaintiff

465 Main Street, Suite 600

Buffalo, New York 14203

Tel: (716) 854-4300

hforrest@gross-shuman.com

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STATE OF NEW YORK
SUPREME COURT - : COUNTY OF ERIE
SHETIA DIXON
Plaintiff,
COMPLAINT
V.
WAL-MART STORES EAST, LP
Index No.
Defendant.

 

Plaintiff, Shetia Dixon, by and through her attorneys Gross Shuman P.C., as and for her
Complaint against the Defendant, Wal-Mart Store East, LP, herein alleges:

1. At all times relevant and hereinafter mentioned, the Plaintiff was and is a resident
of the Town of Cheektowaga, County of Erie and State of New York.

Des Upon information and belief the Defendant, Wal-Mart Stores East, LP, also
known as Depew Wal-Mart Super Center, was and is a foreign limited partnership organized and
existing under and by virtue of the laws of the State of Delaware.

De Upon information and belief, the Defendant was and is authorized to conduct
business in the State of New York and, in fact, was and is doing business in the State of New
York, with a retail store (store number 5027) for the transaction of business at 4975 Transit
Road, Depew, New York 14043 (the "Premises").

4, Upon information and belief at all times relevant as hereinafter mentioned, the

Defendant was and is the lessee of the Premises.

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5. At all times relevant and hereinafter mentioned, the Defendant was and is in
possession of the Premises.

6. At all times relevant and hereinafter mentioned, the Defendant operated,
managed, maintained and controlled the Premises.

7. As such lessee, the Defendant was and is responsible for the maintenance, up-
keep, and repair of the Premises.

8. As such lessee, the Defendant has a duty to use reasonable care to keep the
Premises in a reasonably safe condition for the protection of all persons whose presence is
reasonably foreseeable.

o, That on or about November 26, 2019, while the Plaintiff was lawfully upon the
Premises as a customer within the store, she was caused to trip and fall as a result of a defective
condition then existing in the store on the Premises.

10. On the aforesaid date, the Plaintiff was caused to trip and fall as a result of the
carelessness, recklessness and/or negligence of agents, servants and/or employees of the
Defendant.

11. Upon information and belief, the Defendant was careless, reckless and/or
negligent in creating an unsafe, hazardous, dangerous and/or defective condition, which caused
the Plaintiff's accident.

12. Upon information and belief, the Defendant had knowledge of the unsafe,
hazardous, dangerous and/or defective condition and/or said condition existed for a sufficient
length of time that in the use of reasonable care, said Defendant should have known of its

existence and corrected it.

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13. That the aforementioned occurrence was caused solely and wholly as a result of
the carelessness, recklessness and/or negligence of the named Defendant, its agents, servants
and/or employees in, among other things, the operation, management, maintenance and/or
control of the Premises, and without any negligence on the part of the Plaintiff contributing
thereto.

14. By reason of the carelessness, recklessness and/or negligence of the Defendant,
the Plaintiff was caused to sustain severe, painful, and permanent injuries; was rendered sick,
sore, lame, and disabled; was prevented and will in the future be prevented from following her
usual duties and activities; was caused and will in the future be caused to endure considerable
pain and suffering; was caused and will in the future be caused to expend large sums of money
for medical expenses, physician’s services, hospital care, and other health care services; was
caused and will in the future be caused to suffer a loss of her quality and ability to enjoy life; and
was otherwise injured and damaged.

15. That as a result of the foregoing, the Plaintiff has been damaged in an amount
which exceeds the jurisdictional limit of all lower courts which would otherwise have
jurisdiction.

WHEREFORE, the Plaintiff, Shetia Dixon, demands judgment against the Defendant,
Wal-Mart Stores East, LP, in an amount which exceeds the jurisdictional limit of all lower courts
which would otherwise have jurisdiction, together with costs and disbursements incurred in the
prosecution of the instant action, and for such other, further and different relief as the Court may
deem just and proper.

Dated: Buffalo, New York
November 10, 2020

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GROSS SHUMAN P.C.

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